1. A policy of life insurance providing for payment of benefits to the insured as long as disability is total, upon proof of his "total and permanent disability," etc., does not necessarily contemplate a total disability that will continue during the entire lifetime of the insured. Hence, a proof of total and permanent disability, accompanied by a physician's statement thereof, in which the physician, in answer to a question as to how soon, in his opinion, it would be before the insured would be able to resume an occupation, stated "indefinite," does not affirmatively *Page 138 
show that the insured is not totally and permanently disabled, within the meaning of that term as used in policies of life insurance providing for the payment of benefits to the insured upon proof of total and permanent disability.
2. Under a policy of insurance providing that if the insured shall furnish due proof that he has become wholly and permanently disabled, and that such disability has existed continuously for not less than sixty days, the company will pay to the insured "one per cent. of the face of the policy, and a like amount each month thereafter during the continuance of such disability," the insured is not entitled to disability benefits for the period before the furnishing of the proof of disability.
3. Under a policy providing that if the insured shall furnish to the company due proof that he has become totally and permanently disabled, etc., the company will "waive the payment of all premiums becoming due under the policy after the expiration of the then current policy year," only premiums falling due after the furnishing of such proof of disability are waived by the company.
4. A case for recovery of premiums voluntarily paid by the insured, although he is entitled to a waiver thereof under the terms of the policies, is not stated where it is not alleged that they were paid under an urgent necessity for their payment, or a mistake of fact, or because of fraud or artifice practiced upon the insured.
5. A suit on an insurance policy can not be amended for the purpose of recovering damages and attorney's fees against the defendant, pursuant to the Code, § 56-706, where at the time of the commencement of the suit there was no liability upon the part of the defendant therefore, in that it appears that there was no demand for payment of the amount due under the policy, and refusal to pay, more than sixty days before the commencement of the suit.
           DECIDED JULY 11, 1940. REHEARING DENIED JULY 30, 1940.
Louis L. Montague brought suit against the Massachusetts Mutual Life Insurance Company to recover disability benefits under the terms of six insurance policies issued to him by the defendant, certain premiums paid by him, and damages and attorney's fees. The petition as amended contained substantially the following allegations: The first policy for $1000 was issued on December 2, 1921; the second policy for $4000 was issued on June 19, 1924; the other four policies for $5000 each were issued on August 28, 1925, April 7, 1927, December 22, 1928, and December 28, 1929. Copies of the six policies were attached to the petition. The disability benefits in the $1000 policy were stated as follows: "If the insured, after payment of premium for the first policy year, and before default in the payment of any subsequent year's premium, and before *Page 139 
attaining the age of sixty years, shall furnish due proofs to the company at its home office that he has become totally and permanently disabled, that he is and will be permanently, continuously, and wholly prevented thereby from performing any work, or engaging in any occupation for compensation or profit, and that such disability has existed continuously for not less than sixty days, the company will (1) waive the payment of all premiums becoming due under this policy after the expiration of the then current policy year, and (2) pay to the insured, if then living and such disability shall continue, one per cent. of the face of this policy, exclusive of any paid-up additions, and the like amount each month thereafter during the continuance of the said total disability of the insured prior to the maturity of the policy." The provisions for disability benefits in the $4000 policy are as follows: "If the insured, before default in the payment of any premium under this policy and before the anniversary of the policy on which his age at nearest birthday is sixty years, shall furnish due proof to the company at its home office that he has become wholly and permanently, continuously, and wholly prevented thereby from performing any work or engaging in any occupation for compensation or profit, the company will (1) waive the payment of all premiums becoming due under this policy after the expiration of the then current policy year, and (2) pay to the insured one per cent. of the face of this policy, exclusive of any paid-up additions, and a like amount each month thereafter during the continuance of said total disability of the insured."
Similar provisions appearing in each of the four $5000 policies are as follows: "If the insured, before default in the payment of any premium under this policy and before the anniversary of the policy on which his age at nearest birthday is sixty-five years, shall furnish due proof to the company at its home office that he has become wholly and permanently disabled so that he is and will be permanently, continuously, and wholly prevented thereby from performing any work or engaging in any occupation for compensation or profit, the company will (1) waive the payment of all premiums becoming due under this policy after the expiration of the then current policy year; and (2) pay to the insured one per cent. of the face of this policy, exclusive of any paid-up additions, and a like amount each month thereafter during the continuance of said *Page 140 
total disability of the insured." In each of the six policies it is provided that notwithstanding proof of disability of the insured may have been accepted by the company as satisfactory, if the insured shall at any time, on demand, fail to furnish proof to the company of the continuance of his disability, all disability benefits provided for therein thereafter shall cease. Each of the policies as to disability benefits is substantially the same. On February 27, 1939, the plaintiff became wholly and permanently disabled within the terms of the policies, and such disability continued up to the time of the filing of the petition. On July 29, 1939, he furnished to the defendant at its home office a "statement of insured" in connection with his claim for disability benefits under the policies. On July 29, 1939, he furnished to the defendant at its home office an "attending physician's statement" in connection with his claim for disability benefits under the policies. Copies of these statements were attached to the petition. In the latter statement the following question was propounded to the attending physician: "How soon, in your opinion, will claimant be able to resume an occupation? Approximate date." He answered, "Indefinite." The plaintiff sought to recover of the defendant disability benefits amounting to $250 per month for six months beginning February 27, 1939, on which date the plaintiff alleged that he became totally and permanently disabled. He further alleged: "Under the terms of said contract defendant agreed to waive the payment of all premiums becoming due under said policies after the expiration of the then current policy year. . . The premium on said policy issued on June 19, 1924, was payable $46.16 semi-annually in advance, on the 19th day of December and June of each year. . . After said disability commenced, the then current policy expired on June 19, 1939, but the semi-annual premiums which then became due were not waived by defendant company but were paid by plaintiff. . . The premium on said policy issued on August 28, 1928, was payable $60.15 semi-annually in advance, on the 28th day of August and February of each year. . . After said disability commenced, the then current policy year expired on August 28, 1939, but the semi-annual premiums which then became due were not waived by defendant company but were paid by plaintiff. . . Premium on said policy issued on April 7, 1927, was payable $64.90 semi-annually in advance, on the 7th of April and *Page 141 
October of each year. . . After said disability commenced, the then current policy year expired on April 7, 1939, but the semiannual premiums which then became due were not waived by the defendant company but were paid by the plaintiff. . . Plaintiff is entitled to a return of said premiums so paid, and therefore defendant is indebted to the plaintiff by reason thereof in the sum of $151.21." The plaintiff alleged that he complied with all the terms and conditions of the policies, and demanded of the defendant the payment of the sums due under them, which the defendant failed and refused to pay. At the time of disability the plaintiff was forty-two years old.
On October 19, 1939, the petition was amended by alleging, in part, that "plaintiff has demanded of defendant that it pay the loss claimed in this action, and defendant has refused to pay said loss in bad faith, and sixty days have elapsed since said demand was made, said demand being made on the 29th day of July, 1939: and by reason of such refusal to pay in bad faith the plaintiff is entitled to recover against the defendant, in addition to the amount of the loss incurred, 25 per cent. of the liability of said company for said loss, and also all reasonable attorney's fees for the prosecution of this action." He likewise prayed to recover such damages and fees.
To the petition as amended the defendant demurred generally on the ground that no proof had been furnished by the plaintiff that he had become wholly and permanently disabled within the meaning of the policies, because his attending physician in answer to the question as to how soon in his opinion would the claimant be able to resume an occupation, stated "Indefinite." By special demurrer the defendant contended: (1) The plaintiff, under the provisions of the policies, could not recover the disability benefits for a period before July 29, 1939, the date on which he claims to have furnished to the defendant proof of total and permanent disability within the meaning of the policies. (2) He could not recover for any premiums paid to the defendant before July 29, 1939, the date on which he alleged that he had furnished to the defendant proofs of total and permanent disability. Under the provisions of the policies the furnishing of proof of total and permanent disability was a condition precedent to the plaintiff's right to receive disability benefits, and under the provisions of the *Page 142 
policies no such benefits were payable nor was the payment of insurance premiums waived for the period before the date of the furnishing to the defendant at its home office of due proof of total and permanent disability. (3) The defendant challenged the right of the plaintiff to recover damages and attorney's fees for refusal, in bad faith, to pay the claims sued on, contending that the provisions of the policies, as a matter of law, negatived any such idea of bad faith as would entitle the plaintiff to recover damages and attorney's fees. The defendant further urged, that sixty days had not elapsed before the filing of suit; that any right of the plaintiff to recover damages and attorney's fees must be determined as of the date of the filing of the original petition; that since sixty days had not elapsed before the filing of the petition, the plaintiff could not recover damages and attorney's fees; and that the plaintiff "seeks to assert a claim which plaintiff had no right to enforce at the time of the filing of his original petition." The judge overruled the demurrers on all of the grounds, and the defendant excepted.
1. Attached to the petition, as a part thereof, is a statement of the physician attending the plaintiff, which constitutes an essential and required portion of the proof of disability furnished by the plaintiff to the defendant. The defendant claims that it does not appear from this statement that the plaintiff is "wholly and permanently disabled," within the meaning of the provisions of the policies with respect thereto, in that the physician, in answering the question propounded in the statement to him as to how soon, in his opinion, would the insured be able to resume an occupation, stated "Indefinite." In fact the defendant claims that it affirmatively appears thereby that the insured was not permanently disabled, within the terms of the policies. It is true that the case is in this court upon exception to the overruling of a general demurrer, and therefore the allegations of the petition must be construed most strongly against the plaintiff. However, the allegations of the petition and amendment, together with the exhibits thereto attached, going to make up the plaintiff's alleged cause of action and right to recover the disability benefits sued for, must be reasonably and *Page 143 
fairly construed. All the alleged facts must be taken together and construed in the light of each other. The total and permanent disability provisions of the policies are substantially alike, and thereunder the insurance company becomes liable, if otherwise liable, for the benefits therein provided whenever the insured "shall furnish due proof to the company at its home office that he has become wholly and permanently disabled, so that he is and will be permanently, continuously, and wholly prevented thereby from performing any work or engaging in any occupation for compensation or profit, and such disability has existed continuously for not less than sixty days." The plaintiff alleged that on February 27, 1939, he became wholly and permanently disabled, within the terms of the policies, and that such disability continued up to the time of the filing of the petition, which was September 1, 1939, and more than sixty days from February 27, 1939, when he became so disabled. In the proof furnished to the defendant he stated that his disability was "permanent." The attending physician answered negatively the question, "Is the claimant able to pursue usual occupation?" and answered affirmatively the question, "Do you consider that the claimant, by reason of present disability, will be permanently, continuously, and wholly prevented from pursuing any and all occupations?" This latter question immediately preceded the question first above referred to, where the physician stated that in his opinion the proximate date when the insured would be able to resume an occupation was "Indefinite." The use of the word "indefinite" by the physician must be considered in connection with the other questions and answers in the statement. When so considered, it does not conclusively appear that the insured was not permanently and continuously disabled within the meaning of the policy and of the law, as contended by the defendant.
The Supreme Court, in dealing with the disability provisions of a policy which were similar to those here involved, speaking through the late Mr. Justice Hines, stated: "Does the language `permanently and continuously' mean that the total disability must last forever before the insured will be entitled to the benefits provided in the policy?. . The word `permanent' does not always mean forever or lasting forever. The meaning of that word is to be construed according to its nature and in its relation to the subject matter of the contract. . . The words `permanently and continuously,' *Page 144 
standing alone, would mean that the total disability must be a lasting one; but when these words are taken in connection with other language used in the several provisions of this policy set out above, the fair construction of these words is, not that the total disability shall last or exist forever, but that a disability which existed continuously for no less than sixty days prior to the furnishing of proof is, within the meaning of the policy, a permanent disability. The first provision quoted expressly provides that where `such disability has existed continuously for not less than sixty days prior to the furnishing of proof, thereupon the company will grant' to the insured the benefits provided for in the policy. . . This provision carries an implication that the insurer contemplated that the disability might terminate, in which event the waiver of the payment of premiums would come to an end, and the insured would have to begin to pay premiums again. It contemplates that the disability, proof of which would entitle the insured to the benefits provided, might not last forever, but might end, and that after the cessation of the total disability the benefits would cease. The monthly payments of $50 would be made `during the continuance of said total disability of the insured and prior to the maturity of this policy.' This language clearly indicates that the insurer meant that the total disability, on proof of which it would grant the benefits named, was not one which might last during the entire life of the insured, but one which might end prior to his death." Penn Mutual Life Ins. Co. v.Milton, 160 Ga. 168, 171 (127 S.E. 140, 40 A.L.R. 1382). See Adamson v. Metropolitan Life Ins. Co., 42 Ga. App. 587
(157 S.E. 104, 97 A.L.R. 127, notes). Therefore, under the allegations of the petition, amendment, and exhibits, it does not appear affirmatively, as claimed by the defendant, or by implication, construing the petition most strongly against the plaintiff, that the insured was not wholly and permanently disabled within the meaning of the policies providing for the payment by the insurer of benefits should the insured become wholly and permanently disabled during the existence of the policies. It appears that at the time of the filing of the petition (September 1, 1939) the insured was wholly and permanently disabled, and that he had been so since February 27, 1939, which showed a state of being wholly and permanently disabled continuously for more than sixty days. *Page 145 
2. The insured claims that he is entitled to recover disability benefits from February 27, 1939, when he alleges his total and permanent disability commenced, until the time of the institution of this suit on September 1, 1939. The defendant contends that the insured, if entitled to recover at all, is entitled only to recover for the disability benefits accruing after the furnishing by him of due proof of total and permanent disability, which was on July 29, 1939. The several insurance companies doing business in this State do not appear to have adopted a uniform-disability clause; and consequently each case must stand upon its own bottom and be controlled by the construction of the particular contract under consideration. The policies sued on, as respects the payment of disability benefits to the insured, contain substantially similar provisions to the effect that if the insured, after payment of the premiums for the first policy year, and before default in the payment of any subsequent year's premium, and before attaining the age of sixty years, shall furnish due proof that he has become wholly and permanently disabled, etc., and that such disability has existed continuously for not less than sixty days, the company will pay to the insured one per cent. of the face of the policy, and a like amount each month thereafter during the continuance of said total disability of the insured before the maturity of the policy. Properly construed, does the date of the furnishing of proof of disability to the company, rather than the date of the commencement of the disability itself, fix the time when the insured may be entitled to receive such benefits and the company be liable to pay such benefits? In Equitable LifeAssurance Society v. Adams, 56 Ga. App. 5 (192 S.E. 90), where the policy provided that "disability benefits before age sixty shall be effective upon receipt of due proof, before default in the payment of premium, that the insured became totally and permanently disabled by bodily injury or disease after this policy became effective . . in which event the society will grant the following benefits: . . pay to the insured a monthly disability-annuity as stated on the face hereof, the first payment to be payable upon receipt of due proof of such disability and subsequent payments monthly thereafter during the continuance of such total and permanent disability," it was held that the company was not obligated to pay disability benefits until the furnishing of proof of total and permanent disability. In that case the policy *Page 146 
specifically provided that such benefits were payable "upon receipt of due proof" of disability, and that the company would make "subsequent payments monthly thereafter" during the continuance of such disability.
The plaintiff relies on Life Insurance Company ofVirginia v. Williams, 48 Ga. App. 10, 18 (172 S.E. 101). In that case the court was dealing, not with the question of the time of payment of disability benefits, but with the question of waiver of premiums during disability; and under the express provisions of the policy involved the company waived premiums from the "date of the commencement of such disability." The policy provided that "upon . . proof satisfactory to the company . . that . . the insured has become totally disabled, . . the company will waive the payment of any premium falling due under said policy during such disability. . . Such waiver of premiums shall become effective with the first premium falling due under said policy after the date of the commencement of suchdisability." (Italics ours.) Therefore the waiver of premiums began with the first premium falling due after the date of the commencement of the disability, and did not depend on the time the proof was furnished. That case is not authority for holding that the insured was entitled to the disability benefits provided from the commencement of disability, but is authority only for holding that the waiver of premiums began with the first premium falling due after the commencement of such disability. Properly construing the provisions of the policies here sued on, the right of the insured to the disability benefits did not become existent until certain prerequisites occurred: the contract must be in force, the first year's premium paid, and no default in the payment of any subsequent year's premium; the insured must not be sixty years or more of age, must be totally and permanently disabled within the meaning of that term as used in the policies, and due proof thereof must be furnished the company. All these are necessary and prerequisite occurrences before the company is obligated to pay to the insured "one per cent. of the face" of the policy and a "like amount each monththereafter during the continuance of said total disability." The time when this portion of the contract comes into effect is as much a fundamental element as the disability itself. The obligation of the company under the language of these policies did not rest upon the existence of the *Page 147 
disability standing alone, but also upon the furnishing by the insured to the company of proof of disability. The latter is a condition precedent to the payment of the company to the insured of one per cent. of the face of the policy and thereafter a like amount each month during the continuance of the disability. Under a proper construction of these provisions of the policies no disability benefits are payable to the insured for the period before furnishing the proof of disability. It appears therefore that the plaintiff, if otherwise entitled to prevail, is entitled to recover one per cent. of the face of the policies sued on, as of July 29, 1939, the date of filing the proof of disability, and a like amount each month thereafter until September 1, 1939, the date on which the present action was commenced.
3. The policies provide also that if the insured, etc., shall furnish due proof to the company that he has become totally and permanently disabled, etc., within the meaning of that term as used in these policies, the company will "waive the payment of all premiums becoming due under this policy after the expiration of the then current policy year." The provisions of all six policies are substantially the same. Under these provisions it is plain that the company contracted to relieve the insured from the payment of all premiums becoming due under the policies after the expiration of the then current policy year, upon the furnishing by the insured to the company of due proof and proper proof of total and permanent disability. Under the allegations of the petition as amended, it appeared that this proof was furnished to the company by the insured on July 29, 1939; and it follows that, after the furnishing of such proof, upon the expiration of the then current policy year, the insured would not be liable to pay and the company would waive the payment of, during the continuance of such total and permanent disability, all premiums thereafter becoming due. By the provisions of the policies the company did not waive the payment of any premiums before the furnishing of due proof of disability. Any premiums becoming due after the disability of the insured commenced (February 27, 1939) but before the furnishing of due proof thereof (July 29, 1939) were not waived by the company.
4. It is not alleged that the premiums paid by the insured, after he had furnished the company with due proof of total and permanent *Page 148 
disability, and the payment of which was waived under the terms of the policies, were paid under any urgent necessity for their payment, or that they were paid under any mistake of fact, or that the insured was induced to pay them by any fraud or artifice practiced upon him. In these circumstances the plaintiff was not entitled to recover such items, and the judge should have sustained the demurrer which challenged the right of the plaintiff to recover on them. See New York LifeInsurance Co. v. Williamson, 53 Ga. App. 28, 36 (184 S.E. 755); New York Life Insurance Co. v. Bradford,55 Ga. App. 248, 257 (2) (189 S.E. 914).
5. In order to subject an insurance company to damages and attorney's fees under the Code, § 56-706, it must appear that there has been a demand for the amount due on the policy, and a refusal to pay, sixty days before the suit is brought. Lester v. Piedmont c.Insurance Co., 55 Ga. 475 (4). In the original suit which was filed on September 1, 1939, the plaintiff did not allege any demand and refusal to pay, made more than sixty days previously thereto, and did not seek to recover damages and attorney's fees. However, by an amendment to the petition, filed on October 19, 1939, the plaintiff alleged that on July 29, 1939, a demand was made upon the defendant insurance company to pay the "loss," and that the "defendant has refused to pay said loss in bad faith, and sixty days have elapsed since said demand was made," and therefore that the plaintiff was entitled to recover the damages and attorney's fees allowed by law, recovery of which the plaintiff prayed. The defendant demurred to the portion of the amendment in which the plaintiff sought to recover damages and attorney's fees, on the ground, among others, that the plaintiff thereby "seeks to assert a claim which plaintiff had no right to enforce at the time of the filing of his original petition." The plaintiff had no right, in so far as it appears from the allegations of the petition and the amendment, to recover damages and attorney's fees at the time of the commencement of the suit. The allegation of the petition that the plaintiff "has demanded of defendant the payment of said sums due under said policies, but defendant has refused to pay the same," is not sufficient to show a demand and refusal sixty days before suit was brought. Nor does it appear in the amendment that such demand had been made. The demurrer to that part of the amendment seeking to recover damages and attorney's fees *Page 149 
should have been sustained. The judge properly overruled the general demurrer, and should have sustained the special demurrer in so far as the plaintiff sought to recover disability benefits from the commencement of his disability, premiums voluntarily paid after the furnishing of due proof of disability, and damages and attorney's fees under the Code, § 56-706.
Judgment reversed. Sutton and Felton, JJ.,concur.